946 F.2d 885
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward A. GANEY, Jr., Plaintiff-Appellant,v.J.C. PINION;  Anne Vanderburg;  Doctor Tolson;  J.L.Hamilton;  Chief of Health Services;  Aaron J.Johnson, Defendants-Appellees.
    No. 91-6633.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1991.Decided Oct. 22, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.   Richard C. Erwin, Chief District Judge.  (CA-91-344-3)
      Edward A. Ganey, appellant pro se.
      M.D.N.C.
      DISMISSED.
      Before K.K. HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Edward A. Ganey appeals the district court's order affirming the magistrate judge's order assessing a partial filing fee.*  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. § 1291 this Court has jurisdiction over appeals from final orders.   A final order is one which disposes of all issues in dispute as to all parties.   It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. § 1291.   The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. § 1292.   Finally, the order is not appealable as a collateral order under  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we deny leave to proceed in forma pauperis and dismiss the appeal as interlocutory.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    
      
        *
         We grant Ganey's motion for leave to file an attachment to his informa brief
      
    
    